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                  UNITED STATES COURT OF APPEALS
                      FOR THE TENTH CIRCUIT

  DARLENE GRIFFITH,

                  Plaintiff-Appellant,

                     v.                                Case No. 23-1135

  EL PASO COUNTY, COLORADO;                  Appeal from the United States District
  BILL ELDER, in his individual and            Court for the District of Colorado
  official capacities; CY GILLESPIE, in      (D.C. No. 1:21-cv-00387-CMA-NRN)
  his individual capacity; ELIZABETH
  O’NEAL, in his individual capacity;
  ANDREW MUSTAPICK, in his
  individual capacity; DAWNE ELLISS,
  in her individual capacity; TIFFANY
  NOE, in her individual capacity;
  BRANDE FORD, in her individual
  capacity,

                  Defendants-Appellees.



                MOTION TO WITHDRAW AS COUNSEL
           FOR PLAINTIFF-APPELLANT DARLENE GRIFFITH

      Meghan Palmer hereby requests to withdraw as co-counsel for Appellant

Darlene Griffith because she will no longer be employed with the firm representing

Appellee as of September 8, 2023. Appellant will continue to be represented by Devi

M. Rao of the Roderick & Solange MacArthur Justice Center, and Andrew McNulty

and Mari Newman of Killmer, Lane & Newman, who have already entered

appearances on behalf of Appellant in this matter.


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Dated: September 7, 2023           Respectfully Submitted,

                                   /s/ Meghan Palmer
                                   Meghan Palmer
                                   RODERICK & SOLANGE MACARTHUR
                                     JUSTICE CENTER
                                   501 H Street NE, Suite 275
                                   Washington, DC 20002
                                   (202) 869-3434
                                   meghan.palmer@macarthurjustice.org

                                   Counsel for Plaintiff-Appellant




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                      CERTIFICATE OF COMPLIANCE

I certify that:

       This motion complies with the type-volume limitation of Fed. R. App. P.

27(d)(2)(A) because it contains 70 words, excluding the parts of the motion

exempted by Fed. R. App. P. 27(a)(2)(B).

       This motion complies with the typeface requirements of Fed. R. App. P.

32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) because it has

been prepared in a proportionately spaced typeface using Microsoft Word for

Office 365 and Times New Roman 14-point font.


                                      /s/ Meghan Palmer
                                      Meghan Palmer
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                 CERTIFICATE OF DIGITAL SUBMISSION
   Pursuant to this Court’s guidelines on the use of the CM/ECF system, I hereby

certify that:

   a. all required privacy redactions have been made per 10th Cir. R. 25.5;
   b. if required to file additional hard copies, that the ECF submission is an exact
      copy of those documents; and
   c. the digital submission has been scanned for viruses with the most recent
      version of a commercial virus scanning program, Sophos Endpoint
      Advanced 2023.1.2.3, last updated on September 6, 2023, and according to
      the program is free of viruses.
                                       /s/ Meghan Palmer
                                       Meghan Palmer
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                         CERTIFICATE OF SERVICE

      I hereby certify that on September 7, 2023, I electronically filed the foregoing

Motion to Withdraw as Counsel with the Clerk of the Court for the United States of

Appeals for the Tenth Circuit by using the CM/ECF system. I certify that all

participants in the case are registered CM/ECF users and that service will be

accomplished by the CM/ECF system.


                                       /s/ Meghan Palmer
                                       Meghan Palmer
